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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                        )
                                                  )
                v.                                )
                                                    CRIMINAL NO.: 1:20-CR-040
                                                  )
  JESSICA JOHANNA OSEGUERA                        )
  GONZALEZ,                                       )
        also known as “Jessica Johanna            )
        Castillo” and “La Negra,”                 )
                                                  )
                 Defendant.                       )

   JOINT MOTION TO VACATE TRIAL DATE AND SCHEDULE PLEA HEARING

       The United States of America and Defendant Jessica Johanna Oseguera Gonzalez, by and

through undersigned counsel, respectfully move this Court to (1) vacate the March 22 trial date

and all other pre-trial dates currently scheduled in this matter, and (2) schedule a change of plea

hearing on the planned trial date of March 22, or as soon thereafter as is otherwise practicable.

The parties will provide the Court with the necessary filings in advance of the scheduled hearing,

consistent with the Court’s Standing Order for Criminal Cases.



Respectfully submitted,

 McCOOL LAW PLLC                                    ARTHUR G. WYATT, Chief

    /s/                                                /s/
                                                    Brett Reynolds
 Steven J. McCool
                                                    Kaitlin Sahni
 Julia M. Coleman                                   Kate Naseef
 Yasmin Perez Ortiz                                 Trial Attorneys
 McCOOL LAW PLLC                                    Narcotic and Dangerous Drug Section
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                                                    Counsel for the United States
 Counsel for the Defendant

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Electronic Case Filing

(ECF) system with the United States District Court for the District of Columbia to counsel of

record for the defendant, this 9th day of March 2021.



                                             By:          /s/
                                                        Brett Reynolds
                                                        Trial Attorney
                                                        Narcotic and Dangerous Drug Section
                                                        Criminal Division
                                                        United States Department of Justice




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